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                                #:8154




                       EXHIBIT 1
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                                     #:8155


     Zach Nightingale (Local Counsel)
1    VAN DER HOUT, BRIGAGLIANO & NIGHTINGALE, LLP
     E-mail: ZN@vblaw.com
2    180 Sutter Street, 5th Floor
     San Francisco, CA 94104-4029
3    Telephone:     415-981-3000
4    Facsimile:     415-981-3003

5    FRIED, FRANK, HARRIS, SHRIVER & JACOBSON LLP
     Douglas W. Baruch (Of Counsel)
6    E-mail: Douglas.Baruch@friedfrank.com
     Jennifer M. Wollenberg (Of Counsel)
7    Email: Jennifer.Wollenberg@friedfrank.com
     Ted M. Nissly (Of Counsel)
8    Email: Ted.Nissly@friedfrank.com
     801 17th Street, N.W.
9    Washington, D.C. 20006
     Telephone: 202-639-7000
10   Facsimile: 202-639-7003
11   AMERICAN IMMIGRATION COUNCIL
     Melissa Crow (Of Counsel)
12   E-mail: mcrow@immcouncil.org
     1331 G Street, N.W.
13   Washington, D.C. 20006
     Telephone: 202-507-7523
14   Facsimile: 202-742-5619
15   Attorneys for Amici Curiae American Immigration Council and American Immigration
16   Lawyers Association

17                               UNITED STATES DISTRICT COURT
18                              CENTRAL DISTRICT OF CALIFORNIA
19
20   JENNY LISETTE FLORES, et al.,               )   CV 85-4544 DMG (AGRx)
                                                 )
21                Plaintiffs,                    )   DECLARATION OF ZACHARY
                                                 )   NIGHTINGALE IN SUPPORT OF
22         vs.                                   )   MOTION OF AMICI CURIAE
                                                 )   IMMIGRANT RIGHTS
23   LORETTA E. LYNCH, et al.,                   )   ORGANIZATIONS TO TAKE
                                                 )   JUDICIAL NOTICE OF REPORT OF
24                Defendants.                    )   DHS ADVISORY COMMITTEE ON
                                                 )   FAMILY RESIDENTIAL CENTERS
25                                               )
                                                     Date:        January 30, 2017
26                                                   Judge:       Hon. Dolly M. Gee
27
     DECLARATION OF ZACHARY NIGHTINGALE IN SUPPORT OF MOTION OF AMICI CURIAE
28   IMMIGRANT RIGHTS ORGANIZATIONS TO TAKE JUDICIAL NOTICE OF REPORT OF DHS ADVISORY
     COMMITTEE ON FAMILY RESIDENTIAL CENTERS- 1
     FLORES v. LYNCH, et al., No. CV 85-4544 DMG
     Case 2:85-cv-04544-DMG-AGR Document 286-2 Filed 12/05/16 Page 3 of 4 Page ID
                                     #:8156



             I, Zachary Nightingale, declare and state as follows:
1
2            1.         I am an attorney at law admitted to practice before this Court. I am counsel of

3    record for Amici Curiae American Immigration Council and American Immigration Lawyers
4
     Association. This declaration is submitted in support of Amici’s Motion to Take Judicial Notice
5
     of Report of DHS Advisory Committee on Family Residential Centers. I have personal
6
     knowledge of the matters set forth below and, if called upon, could and would competently
7
8    testify thereto.

9            2.         The U.S. Immigration and Customs Enforcement (ICE) website, www.ice.gov,
10
     contains the Report of the DHS Advisory Committee on Family Residential Centers (ACFRC).
11
     The ACFRC Report is publicly accessible at
12
     https://www.ice.gov/sites/default/files/documents/Report/2016/ACFRC-sc-16093.pdf. I last
13
14   accessed the link on December 5, 2016.

15           3.         I located the ACFRC Report by conducting an Internet search using both Google
16
     and Internet Explorer with “Report of the DHS Advisory Committee on Family Residential
17
     Centers” as my search terms. The report was the first search result.
18
             Attached as Exhibit A is a true and accurate copy of the report that I accessed through my
19
20   Internet search.

21           5.         The ACFRC Report contains the following recommendations, among others:
22
             Recommendation 1-1: DHS’s immigration enforcement practices should
23           operationalize the presumption that detention is generally neither appropriate nor
             necessary for families – and that detention or the separation of families for
24           purposes of immigration enforcement or management, or detention is never in the
             best interest of children. DHS should discontinue the general use of family
25
             detention, reserving it for rare cases when necessary following an individualized
26           assessment of the need to detain because of danger or flight risk that cannot be
             mitigated by conditions of release.
27
     DECLARATION OF ZACHARY NIGHTINGALE IN SUPPORT OF MOTION OF AMICI CURIAE
28   IMMIGRANT RIGHTS ORGANIZATIONS TO TAKE JUDICIAL NOTICE OF REPORT OF DHS ADVISORY
     COMMITTEE ON FAMILY RESIDENTIAL CENTERS- 2
     FLORES v. LYNCH, et al., No. CV 85-4544 DMG
     Case 2:85-cv-04544-DMG-AGR Document 286-2 Filed 12/05/16 Page 4 of 4 Page ID
                                     #:8157



1
            Recommendation 1-3: DHS should return to its prior practice of not putting
2           families into expedited removal and reinstatement of removal. Instead, DHS should
            place families in regular proceedings via issuance of a Notice to Appear and in all
3           but the most unusual situations release them promptly as a family.
4
            Recommendation 1-4: [If] DHS chooses to place a family or any family members
5           in expedited removal or reinstatement of removal proceedings, DHS should
            generally exercise its authority to release family members, together as a family, as
6           soon as possible. . . . When DHS concludes that it should, or must, release a child
            from family detention it should release the child with her parent and siblings absent
7
            extraordinary circumstances, given the traumatic and detrimental impact of that
8           separation, and because in most cases, there are less restrictive means to ensure the
            parent’s continued participation in the legal process.
9
10
     See ACFRC Report at 1-11.
11
            I declare under penalty of perjury under the laws of the United States of America that the
12
     foregoing is true and correct.
13
14                                                Executed on December 5, 2016.

15
16
                                                  By: /s/ Zachary Nightingale
17                                                    Zachary Nightingale (Local Counsel)
                                                      ZN@vblaw.com
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27
     DECLARATION OF ZACHARY NIGHTINGALE IN SUPPORT OF MOTION OF AMICI CURIAE
28   IMMIGRANT RIGHTS ORGANIZATIONS TO TAKE JUDICIAL NOTICE OF REPORT OF DHS ADVISORY
     COMMITTEE ON FAMILY RESIDENTIAL CENTERS- 3
     FLORES v. LYNCH, et al., No. CV 85-4544 DMG
